Case 1:10-cr-00317-REB Document 735-16 Filed 01/17/14 USDC Colorado Page 1of4

#

REQUEST FOR HEARING ON DEFENDANT ARMSTRONG'S UNOPPOSED MOTION
FOR CONTINUANCE OF THE CURRENT MOTIONS FILING DATE, TELEPHONE
HEARING DATE, PRETRIAL CONFERENCE DATE, AND TRIAL DATE FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105

Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 123 Filed 01/25/11 USDC Colorado Page 1 of 3
REQUEST FOR HEARING ON DEFENDANT ARMSTRONG'S UNOPPOSED MOTION FOR CONTINUANCE OF THE
CURRENT MOTIONS FILING DATE, TELEPHONE HEARING DATE, PRETRIAL CONFERENCE DATE, AND TRIAL
DATE, Page 2 of 3 Date: January 25,2011 David L. Owen, Jr. Page 2 of 3, Page 3 of 3

David L. Owen, Jr. Page 3 of 3"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind the
original "Case 1:10-cr-00317-REB Document 123 Filed 01/25/11 USDC Colorado Page 1 of 3
REQUEST FOR HEARING ON DEFENDANT ARMSTRONG'S UNOPPOSED MOTION FOR CONTINUANCE OF THE
CURRENT MOTIONS FILING DATE, TELEPHONE HEARING DATE, PRETRIAL CONFERENCE DATE, AND TRIAL
DATE, Page 2 of 3 Date: January 25,2011 David L. Owen, Jr. Page 2 of 3, Page 3 of 3

David L. Owen, Jr. Page 3 of 3" including every copy for cause. I made a mistake creating,
preparing and filing the REQUEST FOR HEARING ON DEFENDANT ARMSTRONG'S UNOPPOSED MOTION

FOR CONTINUANCE OF THE CURRENT MOTIONS FILING DATE, TELEPHONE HEARING DATE, PRETRIAL
CONFERENCE DATE, AND TRIAL DATE. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act and
deed.

Liyy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", ?"You
are snared by the words of you mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."

"Give no sleep to your eyes, nor slumber to your eyelids." ~"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

FILED

Sincerely
UNITED STATES DISTRICT COURT -
DENVER. COI ORADO Jz, dan Lhidlosh a}o Toei
JAN 17 2014 Richard Kellogg Armstténg 2
c/o 20413-298
JEFFERY P COLWELL Federal Correctional
CLERK Institution - Lompoc

3600 Guard Road
Lompoc, California

Footnotes: lproverbs 6:1, *Proverbs 6:2, 3Proverbs 6:3, 4Proverbs 6:4, 5Proverbs 6:5
Attachment: "supra"

cc: UNITED STATES DISTRICT COURT 901 19th Street Denver, Colorado 80294
cc: Honorable Robert Blackburn, Judge, United States District Court 901 19th Street Denver, Colorado 80294
cc: David L. Owen, Attorney, c/o United States District Court 901 19th Street Denver, Colorado 80294

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-16 Filed 01/17/14 USDC Colorado Page 2 of 4
. Case 1:10-cr-00317-REB Document 123 Filed 01/25/11 USDC Colorado Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Criminal Action No.: 10-cr-00317-REB

UNITED SJATES OF AMERICA,

  
  
      
    
   
  
 
   
  

 

 

 

 

   
   
  
  

Plain
Vv. Pang
2. RIC LLOGG / RONG K .
a™ ¢
Defe t. ~
- }
\
aroun FOR HEA ‘ON DEFENDANT ARMSTRONG’SAN OPPOSED
MOTION FOR CONTI CE OF THE C NT MOTIONS FILING DATE,
TELEPFRQQE HEARING @AITE, PRETRIAL FERENCE DATE, AND TRIAL
& “.« DATE. ‘
~ ’ DA
Com w defendant, HARD KELLOOG ARMSTRONG, by and” through his
attorney, D . Owen, SJr., of # Law Office af L. Owen, Jr., P.C., and requests this

defendant’s Moth for Continuance and in support thereof

Court’s Ordering a hearing.

states as follows:

1. EN puay 14, 201

for Continuafte (Doc. 109). On @

January 21, Ny (Doc. 110).

é »
2. On January 21, 2011

%

ounsel for Defendgnt Armstrong filed an Urtepposed Motion

rt entered an Order setting a Hearing for

pll counsel and parties appeared for the scheduled hearing.
However, due to technical difficulties, Mr. Armstrong could not hear the Court or any other

parties. The Court adjourned the hearing until further Order of the Court.
Case 1:10-cr-00317-REB Document 735-16 Filed 01/17/14 USDC Colorado Page 3 of 4
_ Case 1:10-cr-00317-REB Document 123 Filed 01/25/11 USDC Colorado Page 2 of 3

3. On January 21, 2011, counsel for Mr. Armstrong filed a Motion to Compel the
U.S. Marshal jg provide replacement batteries for Mr. Armstrong’s hearing aids (Doc. 119).
4. L. January 24, 2011, the Honorable Kristen L. Mix, United States Magistrate

Judge for the ict of Colorado d defendant Armstrong’s Motion and Ordered the U.S.

   
   
    
    
   

Marshal to pro die replacement batt

WHERSEQRE, due to the*

undersigned ¢ requests this C

for Mr. Armstrong’s hearing aids (Doc. 122).

ial Motions filing deadline of Januarya31, 2011, the
set a hearing a as possible to resolve, defendant
Armstrong’s p Motion to G® e prior to the Netions filing deadline of Jéary 31,

2011.

ul kK

Date: 25, 2011

ResRedfully submitted,

is Da id L. Owen, Jr, *

 

  

HighNnds Ranch, CO 80126 mo
(30399-7092 SS

“2 WGC"

a

Page 2 of 3
Case 1:10-cr-00317-REB Document 735-16 Filed 01/17/14 USDC Colorado Page 4 of 4
. Case 1:10-cr-00317-REB Document 123 Filed 01/25/11 USDC Colorado Page 3 of 3

CERTIFICATE OF SERVICE

 

I hereby certify that on this January 25, 2011, I electronically filed the foregoing with the Clerk
of Court using CM/ECF system which will send notification of such filing to the following email

addressgs:
van Neuse Harmon kenneth.harmon@usdoj.gov

Ms. Lisaatag! Wayne, Esq. Lmonet20@aol.com

and I here certify that I have mailed q

Aecemanpst tt
erved the document or paper to the following non

  
   

CM/ECF ipant in the manner (rfiafinandd livery, et@Nndicated by the non-participant's
name: 7 i et,
Richard Armstrong ‘

KA

  
 

. No.: 39669
of David L. Owen, Jr., P.C.

 

8854 S. Niners St.
Highlan ch, CO 80126
. (303) -7092 e

¥

77 moe tl

Page 3 of 3
